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AO 440 (Rev. 06/12) Summons ina Civil Action

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Virginia

Simon Tusha

Plaintifffs}

Vv,

Edge Mission Critical Systems, LLC, et al.

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Defendantts)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Diversitec ,

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RECEIVED
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CLERK, U.S. DISTRIC? COURT
ALEXANDRIA, VIRGINIA

 

Civil Action No. 1:20cv726

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Md. lo Lavon Ve DBA - & 3D

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose naine and address are: Simon Tusha
1060 Hidden Moss Drive
Cockeysville, MD 21030

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature af Clerk or Deputy Clerk

 
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2}

Civil Action No. 1:20cv726

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (name of individual aud title, if any)

 

was received by me on (date)

© I personally served the summons on the individual at (piace)

 

on (date) ; or

 

C1 { left the summons at the individual's residence or usual place of abode with (name)

—— - . . 4 person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 | served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

On (date) ; or
© I returned the summons unexecuted because 3 or
CO) Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and fitle

 

Server's address

Additional information regarding attempted service, etc:
AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Eastern District of Virginia

Simon Tusha

Plaintff(s)

v. Civil Action No. 1:20cv726

Edge Mission Critical Systems, LLC, et al.

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Defendantts)
SUMMONS IN A CIVIL ACTION

To: ‘Defendant's name and address} Diversitec

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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Simon Tusha

1060 Hidden Moss Drive
Cockeysville, MD 21930

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer of motion with the court.

CLERK OF COURT

Date:

: ‘Signature of Clerk or Depuiy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:20cv726

 

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© | personally served the summons on the individual at (place)

 

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© I left the summons at the individual's residence or usual place of abode with mame)

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on {date) ; or
1 I returned the summons unexecuted because ; or
O Other (specify:
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Enclosed please find AO 440 Summons forms for
defendant Edge Mission Critical Systems, LLC and
Diversitec.

Please have the forms completed the “ADDRESS” for
each defendant and return to Clerk, U.S. District Court,
Eastern District of Virginia, 401 Courthouse Square,
Alexandria, VA 22314 . Summons will be issued as soon.
as we received and will return it to you for service. If you

have any further questions, you can reach the clerk’s
office at 703-299-1201. Thank You.
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@ Complete items 1, 2, and 3.
_ ™ Print your name and address on the reverse
so that we can return the card to you.
@ Attach this card to the back of the mailpiece,
or on the front if space permits.

A. Signature

X C1 Agent
Cl Addressee _|

B. Received by (Printed Name) C. Date of Delivery

 

 

 

| 1. Article Addressed to:

| Ya Counbos-SQ
| Diexavdsia VA 223IY

QUAD CTU A

9590 9402 5983 0062 1891 53

D. Is delivery address different from item 1? OI Yes
lf YES, enter delivery address below: No

 

 

 

 

9. Article Number (Transfer fram e---~ *

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: PS Form 3811, July 2015 PSN 7530-02-000-9053

|| 0 Insured Mail

 

3. Service Type
D Adult Signature
D Adult Signature Restricted Delivery

O Priority Mail Express®
Cl Registered Mail™
O Registered Mall Restricted

O Certified Mail® Delivery
O Certified Mail Restricted Delivery O Return Receipt for
Merchandise

O Collect on Delivery Al
CI Collect on Delivery Restricted Delivery © Signature Confirmation™ |
D Signature Confirmation

C1 Insured Mail Restricted Delivery Restricted Delivery
(over $500)

Domestic Return Receipt :

 
